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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      Chapter 7
    In re:                                                            (Previously Chapter 11)

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                             Case No. 23-90147 (DRJ)

                                      Debtors. 1                      (Jointly Administered)



SECOND STIPULATION AND AGREED INTERIM ORDER (A) AUTHORIZING THE
 USE OF CASH COLLATERAL, (B) PROVIDING ADEQUATE PROTECTION, AND
                (C) MODIFYING THE AUTOMATIC STAY

             This second stipulation and agreed order (the “Stipulation”) is made and entered into by

and among Janet S. Northrup as the Chapter 7 Trustee (the “Trustee”) of the debtors in the above-

captioned cases (collectively, the “Debtors”) and First Horizon Bank as Administrative Agent (the

“DIP Agent,” and collectively with the Trustee, the “Parties”). The Parties hereby stipulate and

agree as follows:

                                                   RECITALS

             WHEREAS, on March 18, 2023 (the “Petition Date”), the Debtors each commenced with

this Court voluntary cases under chapter 11 of the Bankruptcy Code (the “Cases”).

             WHEREAS, on March 20, 2023, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing

Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing

[Docket No. 7] (the “First Cash Collateral Motion”).


1     A complete list of each of the Debtors in these chapter 7 cases may be obtained on the website of the Debtors’
      claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
      Company’s principal place of business and the Debtors’ service address in these Chapter 7 Cases is 3650 Mansell
      Road, Suite 250, Alpharetta, GA 30022.
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       WHEREAS, on March 20, 2023, the Court entered its Interim Order (A) Authorizing the

Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic Stay,

and (D) Scheduling a Further Hearing [Docket No. 37] (the “First Interim Cash Collateral

Order”), approving the First Cash Collateral Motion and the Debtors’ use of Cash Collateral, all

as more fully set forth therein.

       WHEREAS, on March 23, 2023, the Court entered its Interim Order Pursuant to 11 U.S.C.

§§ 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local

Rule 4001-2 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-Petition

Financing, (II) Granting Liens and Providing Super-Priority Administrative Expenses Status, (III)

Granting Adequate Protection, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

[Docket No. 117].

       WHEREAS, on April 25, 2023, this Court entered its Final Order Pursuant to 11 U.S.C.

§§ 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local

Rule 4001-2 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-Petition

Financing, (II) Granting Liens and Providing Super-Priority Administrative Expense Status; (III)

Granting Adequate Protection; and (IV) Granting Related Relief [Docket No. 332] (the “Final

DIP Order”).

       WHEREAS, on July 19, 2023, the Court approved a further extension of post-petition

credit pursuant to the Order Approving Second Amendment to Senior Secured, Super-Priority

Debtor In-Possession Credit Agreement [Docket No. 1042].

       WHEREAS, on August 5, 2023, the Debtors filed an Emergency Amended Motion of

Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B)




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Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final

Hearing [Docket No. 1196].

       WHEREAS, on August 8, 2023, the Court entered the Interim Order (A) Authorizing the

Use of Cash Collateral, (B) Providing Adequate Protection, and (C) Modifying the Automatic Stay

[Docket Nos. 1223].

       WHEREAS, following an unsuccessful sales process, on August 16, 2023, the DIP Agent

filed, DIP Agent’s Emergency Motion to Appoint Chapter 11 Trustee, or in the Alternative,

Convert These Chapter 11 Case to Case Under Chapter 7 [Docket No. 1280].

       WHEREAS, on August 17, 2023, following the Court’s Order Directing the Appointment

of a Chapter 11 Trustee [Docket No. 1284], the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee [Docket No, 1286], and appointed Janet S. Northrup to serve as the chapter

11 trustee in the Cases.

       WHEREAS, on August 23, 2023, the Court entered the Amended Stipulation and Agreed

Interim Order (A) Authorizing the Use Of Cash Collateral, (B) Providing Adequate Protection,

and (C) Modifying the Automatic Stay [Docket No. 1372].

       WHEREAS, on August 24, 2023, upon its own motion and the Trustee’s request, the Court

converted these Cases to cases under chapter 7 of the Bankruptcy Code [Docket No. 1397].

Thereafter, Janet Northrup was also appointed the chapter 7 Trustee.

       WHEREAS, the Trustee is currently operating the Debtors’ businesses on a limited basis,

in order to preserve and protect assets of the Debtors’ estates, to preserve and protect the Debtors’

records, and to preserve the value of the Debtors’ assets and protect the interest of the Debtors’

creditors and stakeholders.




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       WHEREAS, the Trustee requires authority to use cash collateral to continue the

preservation of the Debtors’ estates.

       WHEREAS, the Trustee and the DIP Agent have agreed to entry of this Second Stipulated

and Agreed Order granting the Trustee’s authority to use cash collateral in accordance with the

Budget as detailed herein.

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

APPROVAL BY THE COURT OF THIS STIPULATION AND AGREED ORDER, IT IS

SO ORDERED as follows:

       1.      Jurisdiction and Venue. This Court has jurisdiction over this matter pursuant

to 28 U.S.C. § 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2). The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Stipulated and Agreed Order.

       2.      Authorization to Use Cash Collateral. Subject to the terms of this Stipulation,

the Trustee is hereby authorized to use Cash Collateral, with the consent of the DIP Agent,

for the period (the “Interim Budget Period”) set forth in the budget attached hereto as Exhibit

1 (the “Budget”), or for such further period or pursuant to such further form of Budget as the

Trustee and the DIP Agent may agree to in writing.

       3.      Disbursements Subject to Budget. The Trustee is only authorized to use Cash

Collateral during the Interim Budget Period in a manner consistent with the Budget. The

Trustee is not permitted to use Cash Collateral for the payment of any professional fees except

as may be provided for in the Budget, and shall not pay any professional fees that accrued

prior to her appointment. The DIP Agent’s superpriority, priming liens shall attach to, without




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limitation, all amounts held by payroll processors that are not paid to employees for earned

wages, benefits, and applicable taxes.

       4.     Adequate Protection. The DIP Agent shall continue to have the benefit of its

postpetition liens and superpriority claims under the Final DIP Order.

       5.     Termination. The Trustee’s ability to use Cash Collateral pursuant to this

Stipulation shall end upon expiration of the Budget on September 30, 2023, unless otherwise

agreed by the DIP Agent.

       6.     Prior Use of Cash Collateral to Purchase Fuel. No party-in-interest in these

chapter 7 cases shall be entitled to assert any claim against any Fuel Supplier or any affiliate

thereof for the recovery of funds paid by the Trustee to such Fuel Supplier for the purchase of

fuel pursuant to this Interim Order under section 549 of the Bankruptcy Code on the basis that

such funds constitute the Cash Collateral of any party. Nothing in this Order shall alter,

impair, condition, limit, release or otherwise prejudice or diminish any setoff, recoupment, or

similar rights held by Fuel Supplier against the Debtors, the Debtors’ estates, or any collateral

or credit assurance provided to any Fuel Supplier by or on behalf of the Debtors. All such

rights are hereby preserved.

       7.     Preservation of Rights Granted Under This Order. The liens and claims

granted by the provisions of this Interim Order shall survive, and shall not be modified,

impaired or discharged by entry of an order dismissing these Cases.

       8.     Binding Effect; Successors and Assigns. The provisions of this Interim Order,

shall be binding upon all parties in interest in these Cases, including, without limitation, the

Trustee, the DIP Lenders, the Debtors, and their respective successors and assigns.




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       9.     Reservation of Rights. The Trustee reserves all rights to seek other or additional

use of Cash Collateral on such further or different terms and conditions as may be approved

by the Court, and the DIP Agent reserves all rights to object and to seek other or additional

relief. Nothing herein shall prejudice any party’s rights under the Final DIP Order or

otherwise.

       10.    Effectiveness.    Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062, or 9024 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of

Civil Procedure, this Interim Order shall be immediately effective and enforceable upon its

entry and there shall be no stay of execution of effectiveness of this Interim Order as provided

in such Rules. This Interim Order shall be valid, binding, and enforceable on all parties in

interest and fully effective immediately upon entry.


Dated: ____________, 2023

                                            DAVID R. JONES
                                            UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT 1


                            (Budget)
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MEX - Wind Down Budget

4-Week Wind-Down Budget                  Week 1            Week 2           Week 3            Week 4                  Total
Mountain Express Oil                    Forecast          Forecast         Forecast          Forecast             4-Week Period
($ in '000s)                            1-Sep-23          8-Sep-23         15-Sep-23         22-Sep-23               Sep-23


Operating Receipts
 Net Fuel Profit                    $          -      $          -     $           -     $               -    $                   -
 Rent Income                                    -                 -                 -                     -                        -
 Net Retail Supporting Operations               -                 -                 -                     -                        -
 Other Receipts                                 -                 -                 -                     -                        -

Total Operating Receipts            $          -      $          -     $           -     $               -    $                   -

Operating Disbursements
 Rent Expense                                  (36)              -                 -                     -                    (36)
 Health Insurance                              (89)              -                 -                     -                    (89)
 CNR                                           (93)             (50)                                                         (143)
 PDI                                           (46)             (46)              (78)               (78)                    (248)
 Data / Records Retention                      (83)             (21)              (21)               (21)                    (146)
 Insurance                                      -              (805)               -                  -                      (805)
 Motor Fuel Tax                                 -              (293)             (293)                -                      (586)
 Other G&A                                      (3)              (3)               (3)                (3)                     (12)
 20% Variance                                  (95)            (107)              (79)               (21)                    (302)

Total Operating Costs               $         (445) $         (1,325) $          (474) $            (123) $                 (2,368)

Operating Cash Flow                 $         (445) $         (1,325) $          (474) $            (123) $                 (2,368)

Restructuring Related
 Restructuring Fees                          (125)             (125)             (125)              (125)                    (500)

Total Restructuring Related         $         (125) $           (125) $          (125) $            (125) $                  (500)

Net Cash Flow                       $         (570) $         (1,450) $          (599) $            (248) $                 (2,868)

Cash (Unrestricted)
 Beginning Balance                  $       2,465 $            1,895 $            445 $             (155) $                 2,465
 Net Cash Flow                               (570)            (1,450)            (599)              (248)                  (2,868)

Ending Unrestricted Cash Balance    $        1,895 $            445 $            (155) $            (403) $                  (403)

Segregated S&U Tax Account

 Beginning Balance                  $       1,100 $           1,100 $             408 $              408 $                  1,100
 (–) S&U Tax Payments                                          (692)               -                (442)                  (1,134)

Ending S&U Tax Account Balance      $        1,100 $            408 $             408 $              (34) $                    (34)

Proliant Payroll Funds
  Beginning Balance                 $         550 $             330 $             290 $              250 $                    550
 (-)Payroll Wages                             (30)              (30)              (30)               (30)                    (120)
 (–) Payroll & Benefits                       (10)              (10)              (10)               (10)                     (40)
 (–) KERP (2nd Payment)                      (180)                                                                           (180)

Ending Proliant Funds               $         330 $             290 $             250 $              210 $                    210
